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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF INDIANA
                                  INDIANAPOLIS DIVISION



 IN RE: COOK MEDICAL, INC. IVC FILTERS                  Case No. 1:14-ml-2570-RLY-TAB
 MARKETING, SALES PRACTICES AND                         MDL No. 2570
 PRODUCTS LIABILITY LITIGATION


 This Document Relates to: All Actions


               DEFENDANTS’ NOTICE OF BELLWETHER SUBSTITUTION

         On March 30, 2022, Plaintiff Wilson moved to dismiss her case after it was selected as one

of two Tulip cases to be tried as bellwethers. Dkt. 21723. On July 20, 2022, the Court entered an

order dismissing the case with prejudice. Dkt. 22391. Unfortunately, the dismissal of Wilson is but

one example of the serial dismissal of bellwether cases. When the Court puts plaintiffs to their

proof by setting cases for bellwether trial, they are all too frequently dismissed. This Court’s

bellwether process – and Cook’s right to trial on the merits of these matters – has been substantially

frustrated by plaintiffs’ serial dismissals.

         The Court’s bellwether plan now directs the next step: Cook will select the bellwether case

that replaces Wilson. See Dkt. 15887, Fifth Amended Case Management Order #27 at ¶ 13 (“If a

bellwether case is voluntarily dismissed, Cook will be permitted to select a replacement bellwether

case from the Initial Bellwether Discovery Cases without regard to strikes.”).

         WHEREFORE, pursuant to Fifth Amended Case Management Order No. 27, and upon the

dismissal of Wilson v. Cook Medical, Inc., 1:17-cv-3050-RLY-TAB, Cook notifies the Court and

the parties that Cook selects Scott v. Cook Medical, Inc., 1:20-cv-00196-RLY-TAB, for bellwether

trial.
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Dated: July 22, 2022

                                       Respectfully Submitted,

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                                CERTIFICATE OF SERVICE

       I hereby certify that on July 22, 2022, a copy of the foregoing Notice of Bellwether

Substitution was filed electronically, and notice of the filing of this document will be sent to all

parties by operation of the Court’s electronic filing system to CM/ECF participants registered to

receive service in this matter. Parties may access this filing through the Court’s system.



                                              /s/ Jessica Benson Cox




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